870 F.2d 654Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donna HARRISON, Claimant-Appellant,v.A.H. ROBINS COMPANY, INCORPORATED, Debtor-Appellee.
    No. 88-2589.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 31, 1989.Decided March 3, 1989.
    
      Donna Harrison, appellant pro se.
      Linda Jenkins Thomason, Mays &amp; Valentine, Michael Lewis Cook, Skadden, Arps, Slate, Meagher &amp; Flom, William C. White, Thomas &amp; Fiske, P.C., for appellee.
      Before DONALD RUSSELL, WIDENER, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Donna Harrison noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore grant appellee's motion to dismiss the appeal.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      DISMISSED.
    
    